       Case 4:23-cv-04155-YGR Document 52-6 Filed 11/24/23 Page 1 of 3




 1 MICHAEL W. BIEN – 096891                     OREN NIMNI*
     ERNEST GALVAN – 196065                      Mass. Bar No. 691821
 2   KARA J. JANSSEN – 274762                   AMARIS MONTES*
     GINGER JACKSON-GLEICH – 324454              Md. Bar No. 2112150205
 3   ROSEN BIEN                                 RIGHTS BEHIND BARS
     GALVAN & GRUNFELD LLP                      416 Florida Avenue N.W. #26152
 4   101 Mission Street, Sixth Floor            Washington, D.C. 20001-0506
     San Francisco, California 94105-1738       Telephone: (202) 455-4399
 5   Telephone: (415) 433-6830                  Email:        oren@rightsbehindbars.org
     Email:        mbien@rbgg.com                             amaris@rightsbehindbars.org
 6                 egalvan@rbgg.com                           d@rightsbehindbars.org
                   kjanssen@rbgg.com
                                                *
 7                 gjackson-gleich@rbgg.com         Admitted pro hac vice

 8 SUSAN M. BEATY – 324048
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:        susan@ccijustice.org

12 Attorneys for Plaintiffs
13                             UNITED STATES DISTRICT COURT

14                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155-YGR
     PRISONERS, et al.,
16                                                         REPLY DECLARATION OF
                Plaintiffs,                                AMARIS MONTES IN SUPPORT
17        v.                                               OF PLAINTIFFS’ MOTION FOR
                                                           PRELIMINARY INJUNCTION
     UNITED STATES OF AMERICA FEDERAL
18   BUREAU OF PRISONS, et al.,                            Date:    December 11, 2023
19              Defendants.                                Time:    1 p.m.

20                                                         Judge: Hon. Yvonne Gonzalez Rogers

21                                                         Trial Date:      None Set

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                                                                  Case No. 4:23-cv-04155-YGR
           REPLY DECLARATION OF AMARIS MONTES IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                                  PRELIMINARY INJUNCTION
      Case 4:23-cv-04155-YGR Document 52-6 Filed 11/24/23 Page 2 of 3




 1         I, Amaris Montes, declare:
 2         1.     I am an attorney admitted to practice before this Court pro hac vice. I am the
 3 Director of West Coast Litigation and Advocacy at the organization Rights Behind Bars,
 4 and counsel of record for the Plaintiffs and Proposed Class. I have personal knowledge of
 5 the facts set forth herein, and if called as a witness I could competently so testify. I make
 6 this reply declaration in support of Plaintiffs’ motion for preliminary injunction.
 7         2.     Plaintiffs moved for a preliminary injunction on August 17, 2023 to prevent
 8 imminent and irreparable harm caused by the Bureau of Prisons’ (BOP) inaction in the
 9 face of a patten of sexual attacks by staff on incarcerated women. ECF No. 10. The
10 preliminary injunction also addressed the imminent and irreparable harm caused by
11 retaliation against incarcerated women who complain about sexual misconduct. See ECF
12 No. 10 at 17-19. 1
13         3.     Attached to Plaintiffs’ Reply to Defendants Opposition to Plaintiffs’ Motion
14 for Preliminary Injunction is Exhibit E. Exhibit E is a non-exhaustive list of incidents of
15 sexual assault or sexual harassment, retaliation, difficulties reporting abuse, inadequate
16 mental and medical hair care, and denial of access to mail, phone calls, and legal visits
17 between January 2022-August 2023 (the time of filing).
18         4.     Exhibit E is a spreadsheet that was prepared by me by compiling information
19 from the 47 declarations previously filed with Plaintiffs Preliminary Injunction. ECF No.
20 10 (Exhibits). No new information was included that did not exist in those declarations.
21 This is an organizational tool intended to assist the Court in its consideration.
22         I declare under penalty of perjury under the laws of the State of California that the
23 foregoing is true and correct, and that this declaration is executed in Washington D.C. this
24 24 day of November, 2023.
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     Page citations are to the ECF page numbering on the blue headers, not to internal
28 document page numbering.
                                               1                      Case No. 4:23-cv-04155-YGR
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                                  PRELIMINARY INJUNCTION
     Case 4:23-cv-04155-YGR Document 52-6 Filed 11/24/23 Page 3 of 3




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 3                                           Amaris Montes

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